




Dismissed and Memorandum Opinion filed November 30, 2006








Dismissed
and Memorandum Opinion filed November 30, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00935-CR

____________

&nbsp;

DAVID TYRONE THOMAS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
179th District Court

Harris County, Texas

Trial Court Cause No. 1078186

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to the offense of failure to comply with sexual offender
registration requirements.&nbsp; In accordance with the terms of a plea bargain
agreement with the State, the trial court sentenced appellant on September 8,
2006, to confinement for two years in the Institutional Division of the Texas
Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We
dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 30, 2006.

Panel consists of Justices Anderson, Hudson, and
Guzman.

Do Not Publish C Tex. R. App. P.
47.2(b)





